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                                   8                                    UNITED STATES DISTRICT COURT
                                   9                                 NORTHERN DISTRICT OF CALIFORNIA
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                                         FRANCIS ANTHONY HUMES,
                                  11                                                      Case No. 21-05123 BLF (PR)
                                                           Petitioner,
                                  12                                                      JUDGMENT
Northern District of California




                                                    v.
 United States District Court




                                  13

                                  14     MONTEREY COUNTY JAIL,
                                  15                       Respondent.
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                                  18              For the reasons set forth in the Order of Dismissal, this action is DISMISSED
                                  19   without prejudice. Judgment is entered accordingly.
                                  20              The Clerk shall close the file.
                                  21              IT IS SO ORDERED.

                                  22   Dated: November 10, 2021                            ________________________
                                                                                           BETH LABSON FREEMAN
                                  23                                                       United States District Judge
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                                  25   Judgment
                                       P:\PRO-SE\BLF\HC.21\05123Humes_judgment
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